   Case 2:06-cr-00071-MHT-SMD Document 428 Filed 02/08/21 Page 1 of 2



  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA            )
                                    )          CRIMINAL ACTION NO.
     v.                             )              2:06cr71-MHT
                                    )                  (WO)
BERNETTA LASHAY WILLIS              )

                         OPINION AND ORDER

    Amendment 782 to the 2014 edition of the Sentencing

Guidelines      revised      the     guidelines          applicable     to

drug-trafficking offenses.           Following the United States

Sentencing     Commission’s        decision     to   give   retroactive

effect    to   the     amendment,       this    court    established     a

Retroactivity Screening Panel to determine whether a

defendant      might    be   eligible          for   a    reduction     of

sentence.      Upon consideration of the recommendation of

the Retroactivity Screening Panel entered today, and

after an independent and de novo review of the record,

it is ORDERED as follows:

    (1) Defendant Bernetta Lashay Willis’s motion for

retroactive application of sentencing guidelines (doc.

no. 364) is granted.
      Case 2:06-cr-00071-MHT-SMD Document 428 Filed 02/08/21 Page 2 of 2




       (2) Pursuant to 18 U.S.C. § 3582(c)(2), defendant

Willis’s      previously      imposed     sentence     of   imprisonment

(as     reflected     in   the    last    judgment     issued)     of      505

months is reduced to 495 months.

       DONE, this the 8th day of February, 2021.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE
